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2                           UNITED STATES DISTRICT COURT

3                         EASTERN DISTRICT OF CALIFORNIA

4

5     UNITED STATES OF AMERICA,             No. 2:15-cr-00125-GEB
6                   Plaintiff,
7           v.                              AMENDED ORDER FINDING THAT
                                            DEFENDANT BENJAMIN MACIAS’S PRO
8     BENJAMIN MACIAS,                      SE APPEAL IS DISREGARDED AND
                                            THAT THE MOTION INVOLVED IN THE
9                   Defendant.              APPEAL IS FRIVOLOUS;
                                            NOTWITHSTANDING THE COURT’S
10                                          FINDING THAT THE PRO SE APPEAL
                                            IS DISREGARDED, THE CLERK OF THE
11                                          COURT SHALL PROCESS DEFENDANT’S
                                            “NOTICE OF INTERLOCUTORY APPEAL”
12                                          FILED SEPTEMBER 27, 2018
13

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15               This order amends the order filed October 17, 2018,

16   docketed as ECF 161.          The United States filed a “Motion For

17   Clarification (‘Mot.’)” of the order filed October 5, 2018.               The

18   United States “suggests [in the motion] that this court: (1)

19   consider    ordering    the   clerk   to   process   [Defendant      Benjamin

20   Macias’s] appeal [filed September 27, 2018] to the United States

21   Court of Appeals for the Ninth Circuit and (2) simultaneously

22   consider issuing a written finding that the motion is frivolous.”

23   Mot. at 1:20-22, ECF No. 158.         The United States argues in the

24   motion: “Doing so will allow this court to retain jurisdiction of

25   the case while the appeal is adjudicated in the Ninth Circuit.”

26   Id. at 1:22-23.

27               However, “[b]ecause [Macias] is represented by counsel,

28   only counsel may file motions, and . . . therefore [the federal
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 1   court may] decline to entertain [the motion].”               United States v.

 2   Noriega-Perez, 467 F. App’x 698, 703 (9th Cir. 2012).

 3               Nevertheless,    assuming      arguendo   that    the   merits   of

 4   Defendant’s pro se motion must be reached and that findings on

 5   Defendant’s pro se motion are required, what follows are the

 6   findings:

 7               the defendant [evinces in his] motion [that
                 he] clearly misunderstands the law and [what
 8               he states is the law are] frivolous conclusory
                 assertions].   The defendant [contends] that
 9               the government is enjoined from prosecuting
                 him based on provisions in the Constitution,
10               18 U.S.C. § 927, and 21 U.S.C. § 903. However,
                 these laws do not prevent his prosecution.
11               Instead, they allow states to pass laws
                 outlawing gun and drug crimes and to do so
12               without fearing that Congress has expressed an
                 intent to exclusively occupy these fields. The
13               defendant does not . . . cite a legitimate
                 basis to enjoin his case.
14

15   Mot. at 4:13-19 (citations omitted).

16               Therefore, Defendant’s motion is woefully unsupported by

17   law and is frivolous.     Further, as the United States asserts “based

18   upon clear and long-standing case law, the defendant’s appeal is

19   [also]   frivolous.”        Id.   at    4:21.     Hence,      notwithstanding

20   Defendant’s filing of his notice of appeal from the denial of his
21   motion, the district court is not divested of jurisdiction to

22   proceed with Defendant’s trial.

23               The Clerk of Court shall send this amended order to the

24   United States Court of Appeals for the Ninth Circuit.

25               Dated:   October 31, 2018

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